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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION


 UNITED STATES OF AMERICA                                  §
                                                           §
 v.                                                        §             NO. 1:11-CR-21-2
                                                           §
 KIMBERLY REID GORE                                        §


          REPORT AND RECOMMENDATION ON PETITION FOR WARRANT
                    FOR OFFENDER UNDER SUPERVISION

         Pending is a “Petition for Warrant or Summons for Offender Under Supervision” filed May

 16, 2014, alleging that the Defendant, Kimberly Reid Gore, violated her conditions of supervised

 release. This matter is referred to the undersigned United States magistrate judge for review,

 hearing, and submission of a report with recommended findings of fact and conclusions of law.

 See United States v. Rodriguez, 23 F.3d 919, 920 n.1 (5th Cir. 1994); see also 18 U.S.C. § 3401(I)

 (2000); Local Rules for the Assignment of Duties to United States Magistrate Judges.

                             I. The Original Conviction and Sentence

         The Defendant was sentenced on February 3, 2012, before the Honorable Marcia A. Crone,

 United States District Judge for the Eastern District of Texas, after pleading guilty to the offense of

 felon in possession of a firearm, a Class C felony. The guideline imprisonment range, based on a

 total offense level of 13 and a criminal history category of IV, was 24 to 30 months. The Defendant

 was sentenced to 30 months’ imprisonment followed by 3 years of supervised release subject to the

 standard conditions of release, plus special conditions to include: financial disclosure, drug aftercare,

 mental health aftercare, and a $100 special assessment.



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                                   II. The Period of Supervision

        On June 17, 2013, Kimberly Reid Gore completed her period of imprisonment and began

 service of the supervision term. On October 21, 2013, Gore’s conditions of supervision were

 modified to include 180 days community confinement

                                           III. The Petition

        United States Probation filed the Petition for Warrant for Offender Under Supervision on

 May 16, 2014, that raises two allegations against Gore. The first allegation claims that Gore violated

 a mandatory condition of release by failing to refrain from any unlawful use of a controlled

 substance, and failing to submit to one drug test within 15 days of release from imprisonment or

 placement on probation and at least two periodic drug tests thereafter, as directed by the probation

 officer, to wit: on October 17, 2013, Gore submitted a urine specimen which tested positive for

 cocaine, methamphetamine, and opiates. The second allegation claims that she failed to reside in

 and participate in a community corrections component of a Community Corrections Center, as

 instructed, until successfully discharged by the center director, but no longer than 180 days from

 admission, to wit: on May 16, 2014, Gore was unsuccessfully discharged from Bannum Place of

 Beaumont for failing to abide by the rules of the facility, was observed participating in inappropriate

 contact with a male resident at the facility, and admitted to possessing an unauthorized phone at the

 facility and to traveling to a location not approved by the faculty staff.




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                                           IV. Proceedings

         On May 20, 2014, the undersigned convened a hearing pursuant to Rule 32.1 of the Federal

 Rules of Criminal Procedure to hear evidence and arguments on whether the Defendant violated

 conditions of supervised release, and the appropriate course of action for any such violations.

         At the revocation hearing, counsel for the Government and the Defendant announced an

 agreement as to a recommended disposition. The Defendant agreed to plead “true” to the second

 allegation, which asserted that she violated a condition of supervised release by failing to reside in

 a community corrections center until successfully discharged.

         The undersigned recommends that the Court revoke the Defendant’s supervised release and

 impose a sentence of nine (9) months’ imprisonment (which includes her 20 days of unserved

 community confinement), with a six (6 ) month term of supervised release to be imposed after

 release.

                                      V. Principles of Analysis

         If the Court, pursuant to the Federal Rules of Criminal Procedure applicable to revocation

 of probation or supervised release, finds by a preponderance of the evidence that the Defendant

 violated a condition of supervised release, it may revoke a term of supervised release and require the

 Defendant to serve in prison all or part of the term of supervised release authorized by statute for the

 offense that resulted in such term of supervised release without credit for time previously served on

 post-release supervision. 18 U.S.C. § 3583(e)(3). The original offense of conviction was a Class

 C felony; therefore, the maximum imprisonment sentence is 2 years.

         According to U.S.S.G. § 7B1.1(a), if the Court finds by a preponderance of the evidence that

 Kimberly Reid Gore violated conditions of supervision by being unsuccessfully discharged from


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 Bannum Place of Beaumont on or about May 15, 2014, Kimberly Reid Gore will be guilty of

 committing a Grade C violation. U.S.S.G. § 7B1.3(a)(2) indicates upon a finding of a Grade C

 violation, the Court may (A) revoke probation or supervised release; or (B) extend the term of

 probation or supervised release and/or modify the conditions of supervision. U.S.S.G. § 7B1.4(a)

 provides that in the case of revocation of supervised release based on a Grade C violation and a

 criminal history category of IV, the guideline imprisonment range is 6 to 12 months.

        According to U.S.S.G. § 7B1.3(c)(1), where the minimum term of imprisonment determined

 under U.S.S.G. § 7B1.4 is at least one month but not more than six months, the minimum term may

 be satisfied by (A) a sentence of imprisonment; or (B) a sentence of imprisonment that includes a

 term of supervised release with a condition that substitutes community confinement or home

 detention according to the schedule in U.S.S.G. § 5C1.1(e), for any portion of the minimum term.

        U.S.S.G. § 7B1.3(c)(3) indicates in the case of a revocation based, at least in part, on a

 violation of a condition specifically pertaining to community confinement, intermittent confinement,

 or home detention, use of the same or a less restrictive sanction is not recommended.

        According to U.S.S.G. § 7B1.3(d), any restitution, fine, community confinement, home

 detention, or intermittent confinement previously imposed in connection with a sentence for which

 revocation is ordered that remains unpaid or unserved at the time of revocation shall be ordered to

 be paid or served in addition to the sanction determined under U.S.S.G. § 7B1.4, and any such

 unserved period of community confinement, home detention, or intermittent confinement may be

 converted to an equivalent period of imprisonment. Kimberly Reid Gore has 20 days of unserved

 community confinement which may be converted to an equivalent period of imprisonment.




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        According to 18 U.S.C. § 3583(h), when a term of supervised release is revoked and the

 Defendant is required to serve a term of imprisonment, the Court may include a requirement that the

 defendant be placed on a term of supervised release after imprisonment. The length of such a term

 of supervised release shall not exceed the term of supervised release authorized by statute for the

 offense that resulted in the original term of supervised release, less any term of imprisonment that

 was imposed upon revocation of supervised release. The authorized term of supervised release for

 this offense is not more than 3 years.

        In determining the Defendant’s sentence, the court shall consider:

        1.      The nature and circumstance of the offense and the history and characteristics of the
                defendant; see 18 U.S.C. § 3553(a)(1);

        2.      The need for the sentence imposed to afford adequate deterrence to criminal conduct;
                to protect the public from further crimes of the defendant; and to provide the
                Defendant with needed educational or vocational training, medical care, other
                corrective treatment in the most effective manner; see 18 U.S.C. §§ 3553 (a)(2)(B)-
                (D);

        3.      Applicable guidelines and policy statements issued by the Sentencing Commission,
                for the appropriate application of the provisions when modifying or revoking
                supervised release pursuant to 28 U.S.C. § 994(a)(3), that are in effect on the date the
                defendant is sentenced; see 18 U.S.C. 3553(a)(4); see also 28 U.S.C. § 924(A)(3);

        4.      Any pertinent policy statement issued by the Sentencing Commission, pursuant to 28
                U.S.C. § 994(a)(2), that is in effect on the date the defendant is sentenced; see 18
                U.S.C. § 3553(a)(5); and

        5.      The need to avoid unwarranted sentence disparities among defendants with similar
                records who have been found guilty of similar conduct; see 18 U.S.C. § 3553(A)(6).

 18 U.S.C. §§ 3583(e) and 3553(a).




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                                          VI. Application

        The Defendant pled “true” to the allegation that she failed to reside in and participate in the

 community corrections component of a Community Corrections Center, as instructed, until

 successfully discharged from the center director, but no longer than 180 days from admission. Based

 upon the Defendant’s plea of “true” to this allegation of the Petition for Warrant or Summons for

 Offender Under Supervision and U.S.S.G. § 7B1.1(a), the undersigned finds that the Defendant

 violated a condition of supervised release.

        The undersigned has carefully considered each of the five factors listed in 18 U.S.C. §§

 3583(e) and 3553(a). The Defendant’s violation is a Grade C violation, and her criminal history

 category is IV. Policy guidelines suggest 6 to 12 months’ imprisonment. The Defendant did not

 comply with the conditions of her supervision and has demonstrated an unwillingness to adhere to

 conditions of supervision. As such, incarceration appropriately addresses the Defendant’s violation.

 The sentencing objectives of punishment, deterrence and rehabilitation along with the

 aforementioned statutory sentencing factors will best be served by a sentence of nine (9) months’

 imprisonment (which includes her 22 days of unserved community confinement), with a six (6)

 month term of supervised release to be imposed after release.

                                      VII. Recommendations

        The Court should find that the Defendant violated a mandatory condition of supervised

 release by failing to reside in and participate in the community corrections component of a

 Community Corrections Center, as instructed, until successfully discharged from the center director,

 but no longer than 180 days from admission. The petition should be granted and the Defendant’s

 supervised release should be revoked pursuant to 18 U.S.C. § 3583. The Defendant should be


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 sentenced to a term of imprisonment of nine (9) months’ imprisonment (which includes her 22 days

 of unserved community confinement), with a six (6 ) month term of supervised release to be imposed

 after release. The Defendant requested to serve her term of imprisonment at the Federal

 Correctional Complex (FCC) in Bryan, Texas. The undersigned requests the Court to recommend

 this facility to the Bureau of Prisons.

                                           VIII. Objections
        At the close of the revocation hearing, the Defendant, defense counsel, and counsel for the

 Government each signed a standard form waiving their right to object to the proposed findings and

 recommendations contained in this report, consenting to revocation of supervised release as

 recommended, and consenting to the imposition of the above sentence recommended in this report.

 The Defendant waived her right to be present and speak before the district judge imposes the

 recommended sentence.        Therefore, the court may act on the report and recommendation

 immediately.



       SIGNED this 22nd day of May, 2014.




                                                    _________________________
                                                    Zack Hawthorn
                                                    United States Magistrate Judge




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